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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :
             v.                         :       Case No. 21-cr-085 (CRC)
                                        :
JOHN HERBERT STRAND,                    :
                                        :
                    Defendant.          :


                                   VERDICT FORM
Count One: Obstruction of an Official Proceeding and Aiding and Abetting

      _______________                   ________________
      Guilty                            Not Guilty



Count Two: Entering or Remaining in a Restricted Building or Grounds

      ________________                  ________________
      Guilty                            Not Guilty



Count Three: Disorderly or Disruptive Conduct in a Restricted Building

      ________________                  ________________
      Guilty                            Not Guilty



Count Four: Disorderly Conduct in a Capitol Building

      ________________                  ________________
      Guilty                            Not Guilty




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Count Five: Parading, Demonstrating, or Picketing in a Capitol Building

      ________________                     ________________
      Guilty                               Not Guilty



Dated this _______ day of ________, 2022


                                                 _________________________
                                                 FOREPERSON




                                             2
